Case 6:24-cv-00457-PGB-RMN Document 173 Filed 09/05/24 Page 1 of 4 PageID 4951




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION


    JENNIFER SMITH,

          Plaintiff,

    v.

    FLORIDA AGRICULTURAL &
    MECHANICAL UNIVERSITY
    BOARD OF TRUSTEES; ALLYSON                  Case No. 6:24-cv-457-PGB-RMN
    WATSON; DENISE D. WALLACE;
    LATONYA BAKER; LATRECHA
    SCOTT; RICA CALHOUN; GRAY
    ROBINSON, P.A.; JULIE ZOLTY;
    RICHARD E. MITCHELL; and
    SARAH REINER,

          Defendants.


                                    ORDER

         This cause comes before the Court for consideration on Defendant

   Florida Agricultural & Mechanical University Board of Trustees’ Motions

   for Protective Order (Dkts. 117, 118), each filed July 18, 2024. The Court

   held a hearing on August 20, 2024, where it granted in part the Motion at

   docket entry 118, and then took the remaining issues in docket entry 118

   and the entirety of the Motion at docket entry 117 under advisement.

   Dkts. 156, 159. The Court held another hearing on September 5, 2024

   (“Hearing”). Dkt. 172. For the reasons stated on the record at the Hearing,
Case 6:24-cv-00457-PGB-RMN Document 173 Filed 09/05/24 Page 2 of 4 PageID 4952




   the Motion at docket entry 117 is due to be granted in part and the Motion

   at docket entry 118 is due to be taken under advisement.

         Accordingly, it is ORDERED:

         1.    Defendant Florida Agricultural & Mechanical University

   Board of Trustees’ Motion for Protective Order (Dkt. 117) is GRANTED

   in part;

               a.    Defendant’s requests to be relieved from responding to

         Request for Admissions 1 and 2 are DENIED as moot;

               b.    Defendant’s requests to be relieved from responding to

         Request for Admissions 3, 4, 5, and 6 are GRANTED;

               c.    Defendant’s request to be relieved from responding to

         Request for Admission 15 is DENIED;

               d.    Defendant’s request to be relieved from responding to

         Request for Admission 16 is DENIED as moot;

               e.    Defendant’s requests to be relieved from responding to

         Request for Admissions 17, 18, 19 are DENIED;

               f.    Defendant’s requests to be relieved from responding to

         Request for Admissions 20, 21, 22 are DENIED as moot;

               g.    Defendant’s request to be relieved from responding to

         Request for Admission 23 is DENIED;




                                      -2-
Case 6:24-cv-00457-PGB-RMN Document 173 Filed 09/05/24 Page 3 of 4 PageID 4953




               h.    Defendant’s requests to be relieved from responding to

         Request for Admissions 24 and 25 are DENIED;

               i.    Defendant’s request to be relieved from responding to

         Request for Admission 34 is GRANTED to the extent Request 34

         seeks an admission as to complaints or inquiries outside the Equal

         Opportunity Programs (EOP) process and DENIED to the extent

         Request 34 seeks an admission regarding complaints or inquiries

         subject to the EOP process;

               j.    Defendant’s requests to be relieved from responding to

         Request for Admissions 35, 37, 40, 43, 71 are DENIED as moot;

               k.    Defendant’s requests to be relieved from responding to

         Request for Admissions 75 and 76 are GRANTED;

               l.    Defendant’s request to be relieved from responding to

         Request for Admission 78 is DENIED as moot;

               m.    Defendant’s request to be relieved from responding to

         Request for Admission 94 is GRANTED;

               n.    Defendant’s request to be relieved from responding to

         Request for Admission 95 is GRANTED; and

               o.    The remainder of the Motion (Dkt. 117) is DENIED;




                                       -3-
Case 6:24-cv-00457-PGB-RMN Document 173 Filed 09/05/24 Page 4 of 4 PageID 4954




         2.    Defendant Florida Agricultural & Mechanical University

   Board of Trustees’ Motion for Protective Order (Dkt. 118) is under

   advisement;

               a.      Defendant’s ore tenus motion for an extension as to

         supplemental briefing regarding Request for Production 72 is

         GRANTED;

               b.      The parties shall file a supplemental brief regarding

         Request for Production 72 in no more than four pages, on or before

         September 13, 2024; and

         3.    The Court declines to award costs or fees to either party.

         DONE and ORDERED in Orlando, Florida, on September 5, 2024.




   Copies furnished to:

   Counsel of Record




                                       -4-
